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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-14004-CR-MARTINEZ/MAYNARD

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  JOCELYN ANTONIA LYNCH,

        Defendant.
  _________________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE comes before me upon an Order of Reference. Having conducted a Change

  of Plea Hearing, I recommend to the District Court as follows:

         1.      I convened a hearing to permit the Defendant to change her plea in this criminal

  case on April 28, 2021. The hearing was convened via video teleconference on the Zoom platform.

  At the hearing’s outset, I advised the Defendant of her right to appear in person for the proceeding.

  The Defendant acknowledged that she understands that right and, after consultation with counsel,

  agreed to waive that right and consented to have the hearing conducted through video

  teleconference. Defendant also acknowledged her signature on a written Consent to Appear by

  Video Teleconference Form that has been filed in the record in this case. DE 35. Having discussed

  the matter with the Defendant, I find that her waiver of in person appearance and consent to

  proceed through video teleconference is knowing and voluntary. I also find, pursuant to the

  CARES Act, H.R. 788, and the Court’s Administrative Orders In re: Coronavirus Public

  Emergency, that the plea cannot be further delayed without serious harm to the interests of justice.
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         2.      Next, I advised the Defendant of her right to have the District Judge assigned to

  this case conduct this proceeding. I advised that I was conducting the Change of Plea Hearing at

  the request of the Defendant, the Defendant’s attorney, and the Assistant United States Attorney

  assigned to this case. I advised that the District Judge assigned to this case will be the sentencing

  judge, will make all findings and rulings concerning the Defendant’s sentence, and will schedule

  and conduct the Sentencing Hearing. I advised the Defendant that she did not have to permit me

  to conduct this hearing but could request a United States District Judge to conduct the Change of

  Plea Hearing instead. The Defendant, the Defendant’s attorney, and the Assistant United States

  Attorney assigned to the case all agreed on the record and consented to have a United States

  Magistrate Judge conduct the Change of Plea Hearing.

         3.      I conducted the plea colloquy in accordance with the outline set forth in the Bench

  Book for District Judges.

         4.      There is a written Plea Agreement which has been entered into by the parties in this

  case. DE 36. I reviewed that Plea Agreement on the record and had the Defendant acknowledge

  that she signed the Plea Agreement. The Defendant pleaded guilty to Counts One through Eight

  of the Information, which charge her with wire fraud in violation of Title 18, United States Code,

  Section 1343. I reviewed with the Defendant the possible maximum sentence as set forth in the

  Plea Agreement. The Defendant acknowledged that she understands the charges against her and

  the penalties that could be imposed in this case.

         5.      The parties submitted a written Stipulation as to Factual Basis for Guilty Plea

  (“Stipulated Factual Basis”). DE 37. The Stipulated Factual Basis is signed by counsel for the

  Government, counsel for the Defendant, and the Defendant. The Defendant acknowledged that

  she understands the Stipulated Factual Basis and has had the opportunity to fully discuss it with
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  her attorney. The Defendant agreed that the Stipulated Factual Basis accurately sets forth the facts

  in her case as she understands them to be. She also agreed that the Government could prove those

  facts against her were a trial to be held in this matter. I find that the Stipulated Factual Basis sets

  forth each of the essential elements of the crimes to which the Defendant is pleading guilty.

         6.      Based on the foregoing and the plea colloquy that I conducted, I find that the

  Defendant enters her guilty plea knowingly, freely and voluntarily. I accept her guilty plea and

  recommend to the District Court that it adjudicate her guilty of the offenses charged in Counts One

  through Eight of the Information.

         7.      The United States Probation Office will conduct a pre-sentence investigation and

  will issue a report for sentencing purposes.

         8.      The parties mutually acknowledged a typographical error in the Information filed

  in this case, DE 22, and asked the undersigned to include their mutual acknowledgment in this

  Report and Recommendation. The parties agree that the initials “J.T.” as set forth in paragraph 1

  of the Information refer to an individual with initials “G.T.” The parties agree to amend this

  scrivener’s error in the Information.

         ACCORDINGLY, this Court recommends to the District Court that the plea cannot be

  further delayed without serious harm to the interests of justice; that Defendant’s plea of guilty to

  Counts One through Eight of the Information be accepted; that the Defendant be adjudicated guilty

  of the offenses to which she pleads guilty; and that a sentencing hearing be conducted for final

  disposition of this case.

         The parties shall have fourteen (14) days from the date of this Report and Recommendation

  within which to file objections, if any, with the Honorable Jose E. Martinez, United States District

  Judge for the Southern District of Florida. Pursuant to Federal Rule of Criminal Procedure
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  59(b)(2), failure to file a timely objection to this Report and Recommendation waives the party’s

  right to review, and it bars the party from attacking on appeal any legal rulings or fact findings

  contained herein.

          DONE AND SUBMITTED in Chambers at Fort Pierce, Florida, this 29th day of April,

  2021.



                                       ____________________________________
                                       SHANIEK M. MAYNARD
                                       UNITED STATES MAGISTRATE JUDGE




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